
17 N.Y.2d 787 (1966)
In the Matter of Kenneth Marks, Respondent,
v.
June Marks, Appellant.
In the Matter of June Marks, Appellant,
v.
Kenneth Marks, Respondent.
In the Matter of Kenneth Marks, Respondent,
v.
June Marks, Appellant.
Court of Appeals of the State of New York.
Argued March 31, 1966.
Decided May 5, 1966.
Simon Rosenzweig, Morris Rosenzweig and Milton Paulson for appellant.
Morris H. Halpern for respondent.
Concur: Chief Judge DESMOND and Judges BURKE, SCILEPPI and KEATING. Dissent: Judges FULD, VAN VOORHIS and BERGAN.
In each proceeding: Order affirmed, without costs; no opinion.
Judges FULD, VAN VOORHIS and BERGAN dissent and vote to modify by directing that the sentence to jail be held in abeyance pending the psychiatric examination directed by the Family Court, and reconsidered in the light of what such examination may disclose.
